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   8                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   9
   10 UNITED STATES OF AMERICA                      CASE NO:
                                                    8:18−cv−01175−CJC−KES
   11                   Plaintiff(s),
                                                    SCHEDULING ORDER
                v.
   12
        KENNETH FRANCO, et al.
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   15                  Defendant(s).

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   19          The Court, having reviewed the pleadings and the parties' submissions
   20    pursuant to Federal Rule of Civil Procedure 26(f), now ORDERS as follows:
   21          [1] All discovery, including discovery motions, shall be completed by
   22    November 27, 2019. Discovery motions must be filed and heard prior to this date.
   23          [2] The parties shall have until January 27, 2020 to file and have heard all
   24    other motions, including motions to join or amend the pleadings.
   25      [3] A pretrial conference will be held on Monday, March 2, 2020 at 03:00
         PM. Full compliance with Local Rule 16 is required.
   26
   27          [4] The case is set for a jury trial, Tuesday, March 10, 2020 at 08:30 AM.
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   1
            [5] The parties are referred to ADR Procedure No. 2 − Court Mediation Panel.
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         The parties shall have until December 31, 2019 to conduct settlement proceedings.
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   5        IT IS FURTHER ORDERED that the Clerk of the Court shall serve copies of
   6
         this Order on counsel for the parties in this matter.
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   8
            IT IS SO ORDERED.
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        DATED: March 19, 2019
   11
                                             Cormac J. Carney
   12                                        United States District Judge

   13
   14    cc: ADR OFFICE
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